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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov
In re:
                                                                                      Chapter 13
                                                                        Case No.: 23-15726-LMI
Tora Latoya Levy,

      Debtor,
______________________________/


                       OBJECTION TO CONFIRMATION OF
                   DEBTOR’S PROPOSED CHAPTER 13 PLAN [D.E. 9]

         Secured Creditor, U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF

THE CHALET SERIES IV TRUST, its successors and/or assignees (“Secured Creditor”),

objects to confirmation of Tora Latoya Levy’s (the “Debtor”) proposed Chapter 13 Plan [D.E. 9]

filed on July 31, 2023, and states:

         1.    Secured Creditor holds a secured claim by virtue of that certain promissory Note

dated October 4, 2005, which is secured by a Mortgage recorded on October 18, 2005 as

Document Number 2005R1097967, in OR Book 23886, Page 1961, in the Public Records of

Miami-Dade County, Florida, encumbering real property located at 20100 SW 84 Place, Miami,

FL 33189 (“Property”).

         2.     On July 21, 2023 (“Petition Date”), the Debtor filed a Voluntary Petition under

Chapter 13 of the United States Bankruptcy Code.

         3.     On July 31, 2023, the Debtor filed the proposed Chapter 13 Plan [D.E. 9] which

proposes to cure a pre-petition arrearage of $75,000.00 with a balloon payment of $70,000.00 in

month 36 and pay a post-petition payment of $3,100.00 in months 1-36.

         4.    The total estimated claim amount owed to Secured Creditor is $309,226.42. The

total estimated pre-petition arrearage owed to Secured Creditor is $148,585.73. The monthly
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post-petition contractual payment owed to Secured Creditor is $1,240.67. Secured Creditor will

file its proof of claim by the Bar Date of September 29, 2023.

       5.      The Debtor’s Plan does not provide for cure of the full pre-petition arrearage

owed to Secured Creditor. As a result, the Plan does not meet the full value requirement and

fails to satisfy 11 U.S.C. §1325(a)(5)(B)(ii). Accordingly, the Debtor will be required to amend

their plan to fully provide for the pre-petition arrears owed to Secured Creditor.

       6.      The Plan does not propose a reasonable schedule, and time period, for the

payment of arrearages on the Mortgage obligations of the Debtor. The payoff period and

monthly repayment amount proposed by Debtor is unreasonable considering Debtor‘s past non-

payment history. Further, the proposed balloon payment of $70,000.00 in month 36 is directly

contrary to 11 U.S.C § 1325(a)(5)(B)(ii) which requires that payments be made in equal monthly

amounts. To cure the actual pre-petition arrearages within 60 months, Secured Creditor must

receive $2,476.42 per month from the Debtor through the Plan.

       9.      The plan does not comply with 11 U.S.C. §1325 and is not feasible because it

fails to properly provide for the treatment of Secured Creditor’s claim. Here the Debtor has

listed on Schedule I and J net monthly income in the amount of $4,070.00. Such amount is

insufficient to fund the plan and fully provide for Secured Creditor’s claim. As a result, the

proposed Chapter 13 Plan is not feasible. Therefore, the Plan cannot be confirmed. 11 U.S.C.

§1325(a)(6).

       WHEREFORE, Secured Creditor respectfully objects to confirmation of the proposed

Plan and requests the following:

        1.             That confirmation of the proposed Chapter 13 Plan be denied;
        2.             For attorney’s fees and costs incurred herein;
        3.             For such other and further relief that this Court deems just and proper.


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Dated: August 16, 2023

                                              Respectfully submitted,

                                              GHIDOTTI | BERGER, LLP
                                              Attorneys for Secured Creditor
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                                              North Miami Beach, FL 33162
                                              Telephone: 305.501.2808
                                              Facsimile: 954.780.5578
                                              bknotifications@ghidottiberger.com

                                              By: /s/ Melbalynn Fisher
                                              Melbalynn Fisher, Esq. (FL Bar #107698)



               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4 (B)(1)

       I certify that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A).

                                              By: /s/ Melbalynn Fisher
                                                      Melbalynn Fisher, Esq.




                               CERTIFICATE OF SERVICE

       On August 16, 2023, I served the foregoing document described as Objection to
Confirmation of Debtor’s Proposed Chapter 13 Plan on the following individuals by electronic
means through the Court’s ECF program:

COUNSEL FOR DEBTOR
Jordan E. Bublick, Esq.              ecf@bublicklaw.com




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CHAPTER 13 TRUSTEE
Nancy K. Neidich                     e2c8f01@ch13miami.com



U.S. TRUSTEE
USTPRegion21.MM.ECF@usdoj.gov




By depositing true copies thereof in the United States mail at North Miami Beach, Florida,
enclosed in a sealed envelope, with postage paid, addressed as follows:

DEBTOR
Tora Latoya Levy
20100 SW 84 Pl
Miami, FL 33189




       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

                                            By: /s/ Melbalynn Fisher
                                                    Melbalynn Fisher, Esq.




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